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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

     FLIP FACE U.S.A., LLC, et. al.,

          Plaintiffs,                              CIVIL ACTION NO.
     v.                                            1:15-cv-00883-MHC

     ALEXANDRIA MOULDING, INC., et. al.,

           Defendants.


       MOTION TO INTERVENE AND ESTABLISH AND ENFORCE AN
     EQUITABLE CHARGING LIEN AGAINST SETTLEMENT PROCEEDS

          The undersigned and previous counsel for Plaintiffs, Mark C. Johnson

(“Undersigned”), hereby files this Motion seeking an Order from this court to

intervene (to the extent needed) in this action to establish an equitable charging lien

(“Lien”) against settlement proceeds recovered by Plaintiffs in the underlying action

and enforcing said Lien, pursuant to O.C.G.A. § 15-19-14, by requiring Plaintiffs’

counsel to deposit 40% of the settlement proceeds into the Court’s registry for

equitable disbursement pursuant to said Lien.

                        MEMORANDUM OF LAW AND FACT

I.        RELEVANT BACKGROUND

          After spending over 800 uncompensated hours litigating this case for the

benefit of Plaintiffs, this Motion is filed to combat against the apparent monetary

greed of Plaintiffs and their current counsel by failing to pay (or offer to pay) any of
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said hours. More specifically, the genesis behind this Motion is Plaintiffs’ failure

(on behalf of Plaintiffs’ current firm, The Concept Law Group, P.A. (“CLG”), and

principals of CLG, Alexander Brown (“Brown”) and Scott Smiley (“Smiley”)) to

compensate Undersigned for his time spent towards actively and significantly

litigating this case to Plaintiffs’ benefit while a partner at CLG.

      It is important to note that since Undersigned’s initial employment with CLG,

Undersigned was never a salaried employee. Rather, Undersigned was compensated

based on a percentage of time billed by Undersigned on a matter or time billed by

others at CLG, if the matter billed on was “originated” by Undersigned. Since at

least March of 2014, and also while a partner at CLG, Undersigned began working

with Plaintiffs as it related to prosecuting Plaintiffs’ patent applications. To that end,

Undersigned personally and successfully argued to obtain one of the principal

patents utilized in the underlying case, i.e., U.S. Patent No. 8,919,059. Because of

Undersigned’s extensive knowledge of Plaintiffs’ technology and Undersigned’s

litigation experience, Brown (albeit while employed with his previous firm at the

time Tripp Scott, P.A.) and Smiley (Undersigned’s partner at the time) approached

Undersigned with a compensation arrangement, whereby Undersigned would be

entitled to reimbursement of 46% of Undersigned’s billable hours associated with

the underlying case, plus 15% of any recovery of CLG’s profit in the case after

Undersigned’s attorney’s fees have been paid out. This compensation arrangement


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was accepted by Undersigned and Undersigned began rendering services toward

furthering this case. Plaintiffs also became aware that Undersigned was not being

compensated for his time working on this case, but rather that Undersigned’s

compensation was dependent on Plaintiffs’ success in recovering damages in the

underlying case.

      In furtherance of Undersigned’s compensation arrangement, Undersigned

began expending significant time toward furthering the litigation in this case,

wherein such efforts included, but are not limited to, (1) conducting pre-suit

investigation and claim evaluation, (2) evaluating pre-suit facts and documents, (3)

drafting of the complaint, (4) reviewing and drafting discovery, including multiple

interrogatories, requests for production, and document productions and

categorization, (5) conducting multiple meet-and-confer discovery meetings and

communications, (6) reviewing, drafting, and defending multiple motions, including

Defendants’ motion for judgment on the pleadings, Plaintiffs’ motion for sanctions,

and Defendants’ motions for summary judgment, (7) preparing for and attending

court hearings, (8) reviewing and drafting patent-related discovery and pleadings,

and (9) preparing for and conducting multiple depositions, including that of

Plaintiffs’ 30(b)(6) representative. As such, Undersigned, who was referred to by




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Smiley as CLG’s “litigation footstool” for this case, spent over 800 unpaid hours1

principally handling a predominant portion of this case.

       Undersigned’s efforts significantly advanced the litigation of this case and led

to several favorable orders to Plaintiffs. To that end, Undersigned was praised for

his work repeatedly and was significantly, and in some instances, solely, relied upon

to advance litigation of the underlying case2. As such, it was and is (despite the

existence of apparent monetary greed) the understanding and expectation that

Undersigned was to be paid for his time billed upon resolution of this case. See, for

example, the following e-mail communication between Undersigned and Smiley

acknowledging Undersigned’s expected reimbursement and recovery upon

resolution of this case:




While having a written agreement is not required to establish or enforce an equitable

attorney fee lien (as discussed infra), the written continency agreement with


1
  To the extent needed by this Court for resolution of this Motion, CLG and Undersigned have
detailed records of Undersigned’s time that was recorded via a software application called
“Timeslips.”
2
  If the Court desires, Undersigned can produce emails relating to this case praising the
Undersigned for his quality of work and advancing the underlying case. Undersigned believes
these emails do not involve attorney-client communications and/or said emails will be redacted to
remove any potential attorney-client communications.
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Plaintiffs in this case contemplated Undersigned’s compensation upon resolution of

this case.

       More specifically, on or around April 3, 2015, Plaintiffs signed an agreement

retaining and employing CLG, including its attorneys, to represent Plaintiffs in the

claims brought against Defendants (“Agreement”). This contingency Agreement

explicitly provided that Plaintiffs agreed “to pay its attorneys a contingency fee of

Forty Percent (40%) of the value of any Gross Recovery.” (emphasis added and a

snippet of said Agreement is reproduced below).




To the extent CLG (and inherently its attorney(s)) withdrawal, Plaintiffs also agreed

to grant a lien for any unpaid attorneys’ fees.




       As such, after Undersigned withdrew from this case and after resigning with

CLG, Undersigned filed a notice of asserting an equitable charging lien against CLG

and Plaintiffs (“Notice”) with this Court on April 24, 2017. Dkt. No. 163. The


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Notice and Lien was never contested by Plaintiffs, CLG, Brown, or Smiley until

almost 2.5 years later, or September 5, 20193. As such, Undersigned is entitled to

equitable reimbursement for his time that is not to exceed 40% of CLG’s portion of

Plaintiffs’ recovery in the underlying proceeding.

II.    LEGAL STANDARD AND BASIS TO INTERVENE

       The rules provide intervention of right in an action to “anyone . . . who . . .

claims an interest relating to the property or transaction that is the subject of the

action, and is so situated that disposing of the action may as a practical matter impair

or impede the movant’s ability to protect its interest, unless existing parties

adequately represent that interest.” Fed. R. Civ. P. 24(a)(2). Undersigned filed a

stipulated withdrawal of counsel in this case on April 28, 2017 and, while still noted

as an attorney of record in this case, Undersigned’s intervention to enforce the Lien

is appropriate in these circumstances. Dkt. No. 166; N. Am. Med. Corp. v. Axiom

Worldwide, Inc., 06-cv-1678-JEC, 2011 LEXIS 105870, at *12 (N.D. Ga., Sept. 19,

2011), vacated in part on other grounds in 2012 LEXIS 198127 (N.D. Ga. Feb. 3,



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  On September 5, 2019, CLG served Undersigned with, what Undersigned believes to be, an
unsupported and unfounded “Motion to Strike Charging Lien and Motion for Sanctions pursuant
to Fed. R. Civ. P. 11.” Undersigned believes this was a clear, unprofessional, and improper attempt
by CLG to deter Undersigned from seeking judicial recourse from this Court, wherein the alleged
basis for said request for sanctions was based on lack of “evidentiary support” for filing the Lien.
As described herein, however, the Notice of asserting the Lien was and is fully justified and within
the rights of Undersigned. To the extent said Rule 11 motion is filed, and as will be addressed in
any response thereto, Undersigned respectfully requests this Court also award Undersigned its fees
and costs associated with this Motion as a sanction against Plaintiffs and its counsel.
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2012) (“intervention is generally recognized as an appropriate means of pursuing a

lien on the proceeds of litigation in which an attorney has participated”).

III.   LEGAL STANDARD AND BASES TO ESTABLISH                        AND       ENFORCE
       UNDERSIGNED’S EQUITABLE ATTORNEY FEE LIEN

       “An attorney lien arises upon the attorney's employment and is perfected at

the time of the ultimate recovery of the judgment by the client.” Lipton v. Warner,

Mayoue & Bates, PC, 492 S.E.2d 281, 283 (Ga. App. 1997) (citing Ramsey v.

Sumner, 211 Ga. App. 202, 204, 438 S.E.2d 676 (1993). “No question exists that

an attorney is entitled to a fee that has been earned.” Ellerin & Associates v.

Brawley, 263 Ga. App. 860, 589 S.E.2d 626, 628 (2003) (citing O.C.G.A. § 15-19-

14). “Since a lien for attorney’s fees arises when the attorney files the action, ‘a

settlement of the action . . . does not defeat the lien of the attorney for his or her

fees’”. Albert v. Am. Family Ins. Co., No. 14-cv-1112-ELR-JKL, 2017 LEXIS

216280, at *10 (N.D. Ga. Jan. 9, 2017) (quoting In re Estate of Estes, 317 Ga. App.

241, 242, 731 S.E.2d 73 (2012)). “For purpose of an attorney’s lien filed under

Georgia law, the measure of damages is quantum meruit.” Brown v. Global Emp’t

Sol., Inc., 236 F. Supp. 3d 1299, 1307 (N.D. Ga. Feb. 17, 2017). Although there

was a written agreement requiring Plaintiffs to pay Undersigned, supra, the

existence of a written agreement is not required to enforce an equitable attorney fee

lien. See id. at 1309.



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       In the instance case, there is no dispute that Undersigned was significantly

involved in litigating this case with the consent of (and on the behalf of) the

Plaintiffs. Supra. There is also no dispute that a settlement was reached in the

underlying case, wherein a benefit was derived to Plaintiffs and their current counsel.

See Dkt. No. 230. Whether Undersigned withdrew from the above-captioned case

and resigned from CLG before the case resolved is also immaterial and/or irrelevant

for resolution of Undersigned’s attorney fee lien.4 See Albert, 2017 LEXIS 216280,

at *10; Brown, 236 F. Supp. 3d at 1308–09 (after withdrawing from client’s case,

the Court awarded fees against plaintiff pursuant to an attorney fee lien for time

spent by a potentially unlicensed attorney who plaintiff did not expressly agree to

have work on his case); Tolson Firm, LLC v. Sistrunk, 332 Ga. App. 324, 324–25,

772 S.E.2d 416, 628 (2015); Kirschner & Venker, P.C. v. Taylor & Martino, P.C.,

277 Ga. App. 512, 513, 627 S.E.2d 112 (2006) (permitting a discharged co-counsel

in a case to recover under a lien against current counsel for services rendered to the

client before he was discharged); Eichholz Law Firm, P.C. v. Tate Law Group, 310

Ga. App. 848, 852–53, 714 S.E.2d 413 (2011) (same).




4
  See, e.g., Nelson & Hill, P.A., v. Wood, 245 Ga. App. 60, 537 S.E. 670, 676 (Ga. Ct. App. 2000)
(after the federal district court awarded attorneys’ fees for two attorneys of a firm against its former
client in quantum meruit, the court of appeals of Georgia affirmed the lower court’s dismissal of
the firm’s second quantum meruit action against its former client, stating that said action “may lie
in contract”). However, as referenced herein, payment pursuant to this Motion does not sound in
contract, but rather in equity.
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      Specifically, in Tolson, a resigning associate took a client from his former

firm and, after filing a lawsuit for said client, the appellate court affirmed the trial

court’s award of attorneys’ fees for pre-suit work for said client as O.C.G.A.§ 15-

19-14 “affords protection to former counsel who performed legal work for a client

in anticipation of filing a lawsuit, even if successor counsel ultimately filed the suit.”

332 Ga. App. at 329. The court also held that “nothing in the statutory language

restricts its application to a limited class of attorneys who worked on the lawsuit

when it was filed.” Id. Additionally, the court held that the attorney fee lien statute:

      [A]pplies nonrestrictively to “attorneys at law” and thus is broad

      enough to encompass those attorneys who conducted legal work for a

      client in anticipation of a lawsuit that ultimately is filed on behalf of the

      client by a different attorney. Any other result would be inconsistent

      with the principle that liens exist to ensure that an attorney is

      compensated for the “fruits of [his] labor and skill … whether realized

      by judgment or decree, or by virtue of an award, or in any other way,

      so long as they are the result of his exertions. . . . [and] does not

      differentiate between classes of “attorneys at law” who have worked on

      a matter for a client who can file and enforce a lien on an action for

      money, and we decline to engraft such a limitation upon the statute.

Id. (emphasis added).


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      Again, while a contract between Undersigned and Plaintiffs is not a

prerequisite to establish and enforce the Lien, Undersigned acknowledges that the

reasonable value for Undersigned’s services recoverable to Undersigned should not

exceed the 40% of Plaintiffs’ recovery (which the most recoverable under the

Agreement), i.e., Undersigned is not claiming or seeking reimbursement of any

amounts that exceed 40% of Plaintiffs’ overall recovery. See Brown, 236 F. Supp.

3d at 1310 (awarding fees to withdrawing counsel less than 40% of recovery

pursuant to the engagement agreement). Therefore, out of equity, Undersigned

should be reasonably compensated for said time.

                             RELIEF REQUESTED

      WHEREFORE, Undersigned respectfully requests this Court enter an Order

(1) granting attorney Mark C. Johnson, to the extent needed, intervention in this

action, (2) establishing an equitable charging lien (“Lien”) against settlement

proceeds recovered by Plaintiffs in the underlying action, (3) enforcing said Lien by

requiring Plaintiffs’ current counsel to deposit 40% of the settlement proceeds into

the Court’s registry for equitable disbursement, and (4) setting an evidentiary

hearing or protocol to evaluate and determine the a reasonable value for

Undersigned’s services pursuant to said Lien, and/or (5) any other relief this Court

deems just and proper.


Dated: September 20, 2019.

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Respectfully submitted,


By:   s/ Mark C. Johnson /
      Mark Johnson, Esq.
      MJ@JohnsonDalal.com

                    CERTIFICATE UNDER LR 7.1D, NDGa

      Pursuant to Northern District of Georgia Local Rule 7.1D, Undersigned

counsel hereby certifies that the above and foregoing is a computer document

prepared in Times New Roman (14 point) font in accordance with Local Rule 5.1B.

                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on September 20, 2019, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that

the foregoing document is being served this day on all counsel of record, either via

transmission of Notices of Electronic Filing generated by CM/ECF or in some other

authorized manner for those counsel or parties who are not authorized to receive

electronically Notices of Electronic Filing.


                                                   By:    s/ Mark C. Johnson /
                                                         Mark C. Johnson, Esq.
                                                         Florida Bar No. 84365




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